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                                           UNITED STATES DISTRICT COURT
                                          CENTRAL DISTRICT OF CALIFORNIA
                                               CRIMINAL MINUTES - GENERAL




 Case No.          SACR 08-223-AG                                                                 Date     August 19, 2011


 Present: The Honorable                                    Andrew J. Guilford, U.S. District Judge
 Interpreter       Punjabi (not present)

                Lisa Bredahl                            Not Present                                Terri Flynn (not present)
                Deputy Clerk                 Court Reporter/Recorder, Tape No.                     Assistant U.S. Attorney



                U.S.A. v. Defendant(s):            Present Cust. Bond            Attorneys for Defendants:         Present App. Ret.

8. JAHMOHAN S. DHILLON                               Not       X           Robison Harley                           NOT            X



 Proceedings:       [IN CHAMBERS] ORDER CONTINUING SENTENCING



      On the Court’s own motion and with the agreement of counsel, the sentencing in this matter is continued
from August 22, 2011 to August 25, 2011 at 3:30 p.m.




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                                                                       Initials of Deputy Clerk     lmb




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